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                     IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF OHIO
                               EASTERN DIVISION



UNITED STATES OF AMERICA,

                       Plaintiff,

               vs.                                          CASE NO.: 2:14-cr-075 (04)
                                                            JUDGE SMITH
                                                            MAGISTRATE JUDGE KING
NIKKIA D. JACKSON,

                       Defendant.


                                            ORDER

       On August 11, 2014, the Magistrate Judge issued a Report and Recommendation pursuant

to 28 U.S.C. § 636(b)(1), recommending that the Court accept Defendant Jackson’s guilty plea to

Count One of the Indictment charging her with conspiracy to defraud the United States in violation

of 18 U.S.C. § 286. Defendant, represented by counsel, waived her right to appear on the matter

before a District Judge. The Magistrate Judge conducted the colloquy required by Rule 11 of the

Federal Rules of Criminal Procedure. Defendant’s plea was knowing, voluntary, free from coercion,

and had a basis in fact.

       Defendant was specifically informed of her right to contest the Report and Recommendation

by filing any objections within 14 days of the issuance of the Report and Recommendation pursuant

to 28 U.S.C. §636(b)(1)(B) and Rule 72(b) of the Federal Rules of Civil Procedure. Defendant did

not file any objections.
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       Accordingly, the Court ADOPTS the Report and Recommendation and ACCEPTS

Defendant’s plea of guilty to Count One of the Indictment. Defendant is hereby adjudged guilty of

conspiracy to defraud the United States.

              IT IS SO ORDERED.


                                                     /s/ George C. Smith
                                                     GEORGE C. SMITH, JUDGE
                                                     UNITED STATES DISTRICT COURT




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